Case 3:18-cr-00356-S Document 111-3 Filed 12/12/19   Page 1 of 4 PageID 659




     EXHIBIT C
             Case 3:18-cr-00356-S Document 111-3 Filed 12/12/19                                                                            Page 2 of 4 PageID 660


,                                                                                                                                      )
                          Fraud Development Recommendation - Examination
    la.     Name, TiN and Location              of Taxpayer

                                       MyMail,          Inc.                                              XX-XXXXXXX                                     Denton, TX
                                       (TJxpayer's Name)                                                    (_SN or E/N)                                 (City and State)


    2.    Basis     for   Potential   Tax   Fraud


    a. []         Omitted Income                           c. []     Failure to File or Pay Tax         e. []    False/Altered Documents            g. []    Other (Explain)

    b. []         False Expenses/Deductions                d. []     Evasion of Payment                 f. []    Aiding & Abetting
                                                                                                                 (Preparer/ Promoter)

    3. List the indicators of fraud, including supporting evidence, and the method used to compute omitted income (if applicable).

          Taxpayer originally filed a 2005 U.S. Return of Partnership Income, Form 1065, on 2/24/2006 that indicated gross receipts or sales
          of $6,842,946.   !lowever, IRP information indicates taxpayer received 1099-MISC in 2005 in the amount of $9,500,000 from
          America Online, with taxpayer in business of developing internet access technology per internet research and business webpage of
          taxpayer. Furthermore, taxpayer subsequently attempted to file a 2005 Form 1065 on 10/19/2006 that was unprocessed but
          includes taxpayer's constitutional arguments and a silver conversion whereby taxpayer indicated the $6,842,946 of gross receipts
          should have only been $729,846.       Thus, based upon IRP inlbrmation, there is understatement of income of $2,657,054 from
          originally filed return [and $8,770,154 based upon 1065 taxpayer sent in with constitutional argument, which would result in
          estimated tax difference of $3,000,000 if this were to be processed].

          12/17/2008        There are no Overt Acts on this case, so Fraud could not be supported.                              Counsel agrees.




    4. Tax Return / Administrative Information

           a, Tax Period(s)                                                  c. EstimatedTax            d. SourceCode                  e. ActivityCode              f. ProjectCode
              (yyyymm)                  b. Tax Return Form                      Due to Fraud
                  200512                            1065                                 903,400                50                          483                             0127




    5a. Initiator's Name                                   5b. Title                           5c. Source of Requester
                                                                                               AIMS AssigneeCode I     Area                         Territory                 Group
    Chris Hendrix
                                                                   Revenue     Agent               205432001185             t Gulf States
                                                                                                                            i
                                                                                                                                                  Dallas NW                   1185
    5d. Telephone Number                                                                                5e. Date

            972-308-1031                                   Ext.                                                            9/17/2008

    6a. Group Manager                                          Oonnell Oickerson                        6b. Date           9/17/2008

    7. FTA Recommendation                                                          A, Tax
                                                                                  Periods            SpecificTax Periods                    FTA Authorization                      Date

          a. Update to Status 17J                                                   []                                                        JanaStoutFTA                   09/2912008
          b. Transfer to field for further fraud development1                       []
                                                    .                  1
          c. Return to Status 12 or other prior statuscode                          []                                                        JanaStoutFTA                    12/17/2008
          d. Return to Status 17 (from Status 18)                                  []
          e. Assert civil fraud/fraudulentfailure to file penalty                   []
          f. Transfer to field for initial frauddevelopment2                       []
      g. FTA involvementconcluded                              []
     FTAinvolvementconcluded.
    2Return(s)
             shouldnot beupdatedtoStatus17. Acopyof thisformshouldnotbeforwarded
                                                                              totheDataAssistant,
                                                                                               FraudPolicy
                                                                                                         &Operations.
    3Request
           original
                  returnsorconfirmation
                                     ofelectronic
                                               filing.

    Form 11661 (Rev. 6-2008)                   Page 1 of 3                      Catalog Number26032K                       Departmentof the Treasury-- Internal Revenue Service




                                                                                                                                                                            DOJ000258
             Case 3:18-cr-00356-S Document 111-3 Filed 12/12/19                                            Page 3 of 4 PageID 661


,   m,                                               i         ii   i
                                                                                                   )            i   i                  ii   m



         Name and TIN of Taxpayer


                                                            Plan of Action
     1) Summons third party for payment intbrmation and substantiation regarding $9,500,000 that was on 1099-MISC to TP.
     2) Attempt to interview taxpayer and review records, comparing gross receipts amounts to information provided by third party.




                                                                                               i       i                I


    Form 11661 (Rev. 6-2008)        Page 2 of 3          Catalog Number26032K          Departmentof the Treasury-- Internal Revenue Service




                                                                                                                            DOJ000259
      Case 3:18-cr-00356-S Document 111-3 Filed 12/12/19                                         Page 4 of 4 PageID 662


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                                                                                             )             I   I




            Instructions for Fraud Development Recommendation - Examination
                                       (Form 11661)
  PAGE 1
  This page should be completed by the Examiner or jointly with the Fraud Technical Advisor (FTA). A copy of the initial
  page and those containing subsequent FTA recommendations will be placed in the case file and retained by the FTA.
  The FTA will forward an electronic copy of page 1 to the FTA manager if item 7a through 7e is recommended.

  Item la:
  Enter the name of one taxpayer only. Individual -- enter the last name (space and suffix, if applicable) followed by a
  comma and space, the first name followed by a comma and space and the middle initial.
  Entity -- enter the name per the tax return or IDRS and the location is the city and state where the taxpayer resides.
  The TIN entry is an SSN or EIN (including dashes), but not both.

  Item 2:
  Check the appropriate box(s) & provide a brief explanation, if box "g" is checked.

  Item 3:
  Self-explanatory

  Item 4:
        • 4a.   Multiple tax periods can be placed in one block (e.g., 200303 - 200512 for
                12 Employment Tax periods, 200312 - 200512 for 3 Income Tax years).
        • 4c.   Enter the aggregate amount (numeric entry) for all tax periods entered in 4a.
        • 4d-f. Jf a different code(s) exist for the tax period(s) entered in 4a, provide the codes
                for the initial tax period.

  Item 5:
  The initiator will complete 5a through 5e. Item 5c will include the 12 digit AIMS Assignee Code. The AIMS Assignee
  Codes are located on the SB/SE - AIMS website:
       • Step 1: Click on this website address: httpJ/sbse.web.irs.gov/AIMS/or      click on "AIMS Assignee Code"
                     in item 5c of the form.
       • Step 2: Click on the Contacts link located on the top left side of the webpage.
       ° Step 3: Click on the appropriate link: Employee Group Code (EGC) Contacts or LMSB Contact List.
       • Step 4: Click on your Primary Business Code (PBC) link on the spreadsheet under the instructions tab
                    or click the tab of your respective PBC group number at the bottom of the screen.
       • Step 5: Scroll up or down to your code (identified by the manager, phone #, contact, street and/or city).
                    The 12 digit code is listed under "PBC", "SBC" and "EGC". Enter your Area, Territory (if
                    applicable) and Group in alpha-numerical format.

  Item 6:
  Self-explanatory

  Item 7:
  The FTA will check the "All Tax Periods" box or the specific tax periods, sign and date the applicable
  FTA recommendation. The specific tax periods can be combined (e.g., 200312-200512) or separated by a comma and/or
  "&" sign (e.g., 200303, 200403 & 200409). Item 7g. will be completed when involvement in assertion of the civil fraud/
  fraudulent failure to file penalty (write-off and/or review) is complete.

  PAGE 2, Plan of Action:
  The FTA will provide a detailed list of audit steps required for Fraud Development that were agreed upon by the examiner
  and group manager. The action plan should include a projected follow-up date agreed to by the examiner, group manager
  and FTA at which time further discussion on the case will occur. A copy of the initial page and those containing
  subsequent FTA recommendations will be placed in the case file and retained by the FTA.




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  Form11661 (Rev.6-2008)      Page3 of 3           CatalogNumber26032K              Department
                                                                                            oftheTreasury-- InternalRevenueService




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